 Case 3:08-cr-00199-L             Document 27     Filed 09/29/08      Page 1 of 2      PageID 57



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §   Christian 3:08-CR-199-L (01)
                                                  §
JEMILYN GREEN                                     §

                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE
                         CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea

of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge (“Report”), and no objections thereto having been filed

within ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge

determines that the Report of the Magistrate Judge concerning the Plea of Guilty should be accepted.

Based upon the Report of the Magistrate Judge, the court finds that the defendant is fully competent

and capable of entering an informed plea, that the defendant is aware of the nature of the charge and

the consequences of the plea, and that his plea of guilty is a knowing and voluntary plea, supported

by an independent basis in fact, containing each of the essential elements of the offense.

Accordingly, the court accepts the plea of guilty entered by Defendant Lance Harkey on June 12,

2008, and he is hereby adjudged guilty of the offense charged in the single-count Indictment, which

is a violation of 18 U.S.C. § 514(a)(2), namely, Possession of Fictitious Obligations. Sentence will

be imposed in accordance with the court's scheduling order.




Order Accepting Report – Page 1
 Case 3:08-cr-00199-L             Document 27   Filed 09/29/08   Page 2 of 2   PageID 58



        It is so ordered this 29th day of September, 2008.



                                                    _________________________________
                                                    Sam A. Lindsay
                                                    United States District Judge




Order Accepting Report – Page 2
